                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NEW YORK

MIKE KLOPPEL and ADAM WILSON
on behalf of himself and all other
similarly situated persons,

      Plaintiffs,                        Case No.: 6:17-cv-06296-FPG

v.

SEARS HOLDING CORPORATION,
SEARS ROEBUCK & COMPANY and
HOMEDELIVERYLINK, INC.

      Defendants.



           HOMEDELIVERYLINK, INC.’s (“HDL”) MEMORANDUM
               IN SUPPORT OF ITS MOTION TO DISMISS



Andrew J. Butcher, Esq.                           Rodney O. Personius, Esq.
(pro hac vice)                                    Personius Melber LLP
Scopelitis, Garvin, Light,                        2100 Main Place Tower
Hanson & Feary                                    Buffalo, NY 14202
30 W. Monroe Street, Suite 600                    (716) 855-1050 x101
Chicago, IL 60603
312-255-7200

Attorneys for Defendant, HomeDeliveryLink, Inc.
                                           TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................... ii


I.     ARGUMENT SUMMARY ..................................................................................... 1

II.    ARGUMENT ......................................................................................................... 3

        A.        Motion to Dismiss Standard .................................................................... 3

        B.        The FAAAA preempts Plaintiffs’ claims predicated on the
                  Transportation Industry Act .................................................................... 3

        C.        The existence of the Independent Contractor
                  Agreement precludes Plaintiffs from pursuing their
                  unjust enrichment claim .......................................................................... 6

III.    CONCLUSION .................................................................................................... 8




                                                            -i-
                                           TABLE OF AUTHORITIES



Cases

Air Transp. Ass'n of Am. v. Cuomo, 520 F.3d 218 (2d Cir. 2008) ................................. 5

American Airlines, Inc. v. Wolens, 513 U.S. 219 (1995) ........................................... 4, 6

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ........................................................... 3

Camp v. TNT Logistics Corp., 553 F.3d 502, 508 (7th Cir. 2009) ................................. 3

Cortec Industries, Inc. v. Sum Holding L.P., 949 F.2d 42 (2d Cir. 1991) ..................... 1

Cosmas v. Hassett, 886 F.2d 8 (2d Cir. 1989)................................................................ 1

Deerskin Trading Post, Inc. v. UPS, 972 F. Supp. 665, 672–73 (N.D. Ga. 1997)……...6

Frey v. Bekins Van Lines, Inc., 802 F. Supp. 2d 438, 442 (E.D.N.Y. 2011)…………....6

MacDraw, Inc. v. CIT Grp. Equip. Fin., Inc., 157 F.3d 956, 964 (2d Cir. 1998)……….6

Mid-Hudson Catskill Rural Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168
   (2d Cir. 2005) ............................................................................................................... 7

Morales v. Trans World Airlines, 504 U.S. 374 (1992).............................................. 2, 4

Northwest, Inc. v. Ginsberg, 134 S. Ct. 1422 (2014) ..................................................... 6

RLI Ins. Co. v. All Star Transp. Inc., 608 F.3d 848, 848 (D.C. Cir. 2010) ………………………4

Rothman v. Gregor, 220 F.3d 81 (2d Cir. 2000)......................................................... 1, 3

Rowe v. New Hampshire Motor Transp. Ass’n, 552 U.S. 364 (2008) ................... 2, 3, 5

S.C. Johnson & Son, Inc. v. Transp. Corp. of Am., Inc., 697 F.3d 544 (7th Cir. 2012) . 8

Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d 429 (1st Cir. 2016) .......... 5, 8



Statutes

49 U.S.C. § 14501(c) ................................................................................................. 2, 3,4

N.Y. Lab. Law § 193 ....................................................................................................... 1



                                                               -ii-
N.Y. Lab. Law § 198-b .................................................................................................... 1

N.Y. Lab. Law §195 ........................................................................................................ 1

N.Y. Lab. Law §862 .................................................................................................. 2,4,5

Regulations

48 C.F.R. § 247.301-70 .................................................................................................... 1

Other Authorities

2013 NY Assemb. 8451 ................................................................................................... 4




                                                            -iii-
I.     INTRODUCTION

       HDL is a third-party logistics company providing supply-chain management

services to customers that rely on HDL to coordinate the efficient movement of goods.1

For Innovel Solutions, Inc.—HDL’s customer whose operation is at issue in the

Amended Complaint—HDL coordinates the movement of goods through a network of

independent-contractor truck owners. See Am. Compl. ¶¶ 12–14; see also Sears’ Mem.

in Supp. of Mot. to Dismiss at 3 n.1, ECF No. 13 (identifying Innovel Solutions as the

party contracting with HDL). Plaintiffs are two of the truck owners who agreed to

transport Innovel Solutions’ goods and signed an Independent Contractor Agreement

on behalf of their respective companies—Kloppel Deliveries (Plaintiff Kloppel) and

ECC Movers (Plaintiff Wilson)—to provide delivery services.2

       Plaintiffs’ Amended Complaint requests recovery under (1) New York’s

unlawful wage deduction law, N.Y. Lab. Law § 193 (McKinney 2012); (2) New York’s

illegal kickback of wages law, N.Y. Lab. Law § 198-b (McKinney 2017); (3) New York’s

record-keeping requirement, N.Y. Lab. Law §195 (McKinney 2014); and (4) an unjust

enrichment theory. None of Plaintiffs’ claims arise out of an alleged breach of the

private undertaking between their respective companies and HDL. Instead, each is


1 “Third-party logistics” does not have a universal definition, but is generally understood to
include “the management of transportation, demand forecasting, information management,
industry marketplace, warehousing, and distribution.” 48 C.F.R. § 247.301-70 (defining
“third-party logistics providers” in the context of Transportation Supply Contracts for
purposes of the Federal Acquisition Regulations System).

2A copy of each Independent Contractor Agreement is attached as Exhibits 1 and 2. Because
the Amended Complaint refers to and incorporates each Independent Contractor Agreement
in its factual allegations, the Agreements may be considered in the context of this motion to
dismiss under Rule 12(b)(6). Am. Comp., ¶¶ 13, 16(l), 17, 19, 20, 29; Rothman v. Gregor, 220
F.3d 81, 88 (2d Cir. 2000) (citing Cosmas v. Hassett, 886 F.2d 8, 13 (2d Cir. 1989), Cortec
Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 47–48 (2d Cir. 1991), cert. denied, 503 U.S. 960
(1992)) (“For purposes of a motion to dismiss, [the Second Circuit has] deemed a complaint
to include any written instrument attached to it as an exhibit or any statements or documents
incorporated in it by reference . . . and documents that the plaintiffs either possessed or knew
about and upon which they relied in bringing the suit.”).


                                              -1-
predicated on the application of a New York state statute that disregards the terms

under which market participants agreed to transport property and presumes that

“[a]ny person performing commercial goods transportation services for a commercial

goods transportation contractor” is an employee. N.Y. Lab. Law § 862-b (McKinney

2014) (“Transportation Industry Act”); Am. Compl. ¶¶ 45, 47–48, 50, 53.

      As discussed in Section II(B), the Federal Aviation Administration

Authorization Act (“FAAAA”), 49 U.S.C. § 14501(c), expressly preempts states from

enacting or enforcing any law “related to a price, route or service of any motor carrier

[or] broker with respect to the transportation of property.” Legislation such as the

Transportation Industry Act, directed specifically towards how motor carriers and

brokers provide their transportation services, falls squarely within what the FAAAA

forbids. Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992) (‘State

enforcement actions having a connection with or reference to airline ‘rates, routes, or

services’ are [FAAAA] preempted.”); see also Rowe v. N.H. Motor Transp. Ass’n, 552

U.S. 364,371 (2008) (holding FAAAA preempted Maine law “aim[ed] directly at the

carriage of goods, a commercial field where carriage by commercial motor vehicles

plays a major role.”).3 Because each of the Plaintiffs’ claims are pled as predicated on

the Transportation Industry Act’s application, all four claims must in turn be
dismissed.

      Finally, as discussed in Section II(C), the existence of the Independent

Contractor Agreement that governs the relationship between Plaintiffs’ respective

businesses and HDL provides an alternative basis for dismissal of the unjust

enrichment claim because New York law does not permit recovery for unjust


3 The Morales decision was decided under the Airline Deregulation Act or “ADA”, which
Congress borrowed the preemption language from in drafting the FAAAA. Rowe, 552 U.S. at
368. Consistent with its text and history, the Supreme Court has instructed that, in
interpreting the FAAAA’s preemption language, courts should follow decisions interpreting
similar language in the ADA. Id. at 371.


                                           -2-
enrichment if the parties have a valid, enforceable contract that governs the same

subject matter.


II.   ARGUMENT



      A.     Motion to Dismiss Standard

      Under Rule 12(b)(6), the Court must dismiss a complaint that fails to state a

claim for which relief could be granted. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). In ruling on a Rule 12(b)(6) motion, the Court may rely on materials, such as
the Agreements here, that are incorporated in the Complaint. See Rothman v. Gregor,

220 F.3d 81, 88 (2d Cir. 2000)



      B. The FAAAA preempts Plaintiffs’ claims predicated on the Transportation
         Industry Act
      Through passage of the FAAAA in 1994, Congress intended to liberate

participants in the trucking industry from state interference with the manner in

which they transport property. Rowe v. N.H. Motor Transp. Ass’n, 552 U.S. 364, 371

(2008). This deregulation of the trucking industry would allow the free-market to

dictate transportation service terms that “reflect maximum reliance on competitive
market forces, thereby stimulating efficiency, innovation, and low prices, as well as

variety and quality.” Id. at 371 (internal quotations omitted). The resultant market

freedom generates multiple different transportation outcomes. Among those are

businesses, like Innovel Solutions, that elect to outsource management of their supply

chain to third-party logistics companies, such as HDL. See, e.g., Camp v. TNT

Logistics Corp., 553 F.3d 502, 508 (7th Cir. 2009) (identifying the “main focus” of the
defendant “third-party logistics company” as being “the timely and efficient
procurement of” goods).




                                          -3-
       To achieve its deregulatory goal, Congress expressly preempted states from

enacting or enforcing any law “related to a price, route or service of any motor carrier

[or] broker with respect to the transportation of property.” 49 U.S.C. § 14501(c). The

Supreme Court has explained that “the ban on enacting or enforcing any law ‘relating

to rates, routes, or services’ is most sensibly read . . . to mean States may not seek to

impose its own public policies or theories of competition or regulation on the

operations of” a broker or motor carrier. Am. Airlines, Inc. v. Wolens, 513 U.S. 219,
229 n.5 (1995) (emphasis added).

       State laws that “relate to a price, route, or service” of trucking industry

participants like motor carriers or brokers are FAAAA-preempted. Morales v. Trans

World Airlines, Inc., 504 U.S. 374, 384 (1992) (“State enforcement actions having a
connection with or reference to airline ‘rates, routes, or services’ are FAAAA

preempted.”). Through the enactment of the Transportation Industry Act, the New

York legislature created a law specifically directed at how services are performed by

any “commercial goods transportation contractor,” which encompasses federally-

regulated motor carriers and brokers. N.Y. Lab. Law § 862-a(1) (McKinney 2014)

(defining “[c]ommercial goods transportation contractor” as “any sole proprietor,

partnership, firm, corporation, limited liability company, association or other legal
entity that compensates a driver who possesses a state-issued driver’s license,

transports goods in the state of New York and operates a commercial motor vehicle .

. . .”); see also N.Y. Assemb. 8451, 2013 Leg., 237th Sess. (2013 N.Y.) (stating that

the purpose of the Transportation Industry Act was to “ensure the proper

classification of employees in the trucking industry”).4


4 A copy of this Assembly Bill Committee Report is attached as Exhibit 3. That both motor
carriers and brokers are considered part of the broader “trucking industry” cannot be
disputed. E.g., RLI Ins. Co. v. All Star Transp. Inc., 608 F.3d 848, 848 (D.C. Cir. 2010)
(explaining that “[t]he trucking industry consists of three main players: (i) shippers, who
typically are manufacturers sending goods to retailers or others; (ii) truckers, who transport


                                             -4-
       “[W]hether to provide a service directly, with one’s own employee, or to procure

the services of an independent contractor is a significant decision in designing and

running a business.” Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d 429, 438

(1st Cir. 2016). The Transportation Industry Act does precisely what the FAAAA

forbids by interfering with this workforce decision. Id.; see also Rowe, 552 U.S. at 371

(holding FAAAA preempted Maine law “aim[ed] directly at the carriage of goods, a

commercial field where carriage by commercial motor vehicles plays a major role.”);

Air Transp. Ass’n of Am., Inc. v. Cuomo, 520 F.3d 218, 223 (2d Cir. 2008) (holding
New York law “relate[d] to the service of an air carrier and therefore falls within the

express terms of the ADA’s preemption provision”).

       Moreover, the Transportation Industry Act’s interference with motor carriers

and broker operations could not be more clear from the statutory text: it explicitly

references motor carrier and broker services fourteen times.5 Regardless of New


the goods; and (iii) brokers, who act as intermediaries between shippers and truckers. When
a shipper needs to send goods, it hires a broker.”).
5 The fourteen references to services, with emphasis added in the quotations, are: N.Y. Lab.

Law § 862-b(1) (McKinney 2014) (identifying who the legislation applies to as “any person
performing commercial goods transportation services for a commercial goods transportation
contractor” and dictating how “payment for such services” occurs); Id. § 862-b(1)(b) (“the
services must be performed outside the usual course of business for which the service is
performed”); Id. § 862-b(1)(c) (“the individual is customarily engaged in an independently
established trade, occupation, profession, or business that is similar to the service at issue”);
Id. § 862-b(2)(a) (“ the business entity is performing the service free from the direction or
control over the means and manner of providing the service, subject only to the right of the
commercial goods transportation contractor for whom the service is provided to specify the
desired result or federal rule or regulation”); Id. § 862-b(2)(e) (“the business entity may make
its services available to the general public . . . on a continuing basis”); Id. § 862-b(2)(f) (“ the
business entity provides services reported on a Federal Income Tax form 1099 . . .”); Id. § 862-
b(2)(g) (“the business entity performs services for the commercial goods transportation
contractor pursuant to a written contract . . .”); Id. § 862-b(2)(h) (“when the services being
provided require a license or permit, the business entity pays for the license or permit in the
business entity’s name . . . .”); Id. § 862-b(2)(k) (“the business entity has the right to perform
similar services for others on whatever basis and whenever it chooses”); Id. § 862-b(5) (“When
a business entity meets the definition of a separate business entity pursuant to subdivision
two of this section, the separate business entity will be considered a [an independent
contractor] performing services”).


                                                -5-
York’s intention or reasons for doing so, the FAAAA will not permit it “to impose its

own public policies . . . on the operations of” a broker or motor carrier through state

law directed specifically at the transportation services those companies provide.

American Airlines, Inc. v. Wolens, 513 U.S. at 229 n.5.
       The unjust enrichment claim incorporates the Transportation Industry Act

and in turn is preempted as well. Am. Compl. ¶ 53; see also Northwest, Inc. v.

Ginsberg, 134 S. Ct. 1422,1431 (2014) (holding FAAAA’s “deregulatory aim can be
undermined just as surely by a state common law rule as it can be a state statute or

regulation.”). But, the unjust enrichment claim also falls comfortably within the

FAAAA’s preemptive scope given the relief sought requires discarding the

independent contractor relationship and financial terms for the services provided as

set forth in each Independent Contractor Agreement at issue. See Frey v. Bekins Van

Lines, Inc., 802 F. Supp. 2d 438, 442 (E.D.N.Y. 2011); see also Deerskin Trading Post,
Inc. v. UPS, 972 F. Supp. 665, 672–73 (N.D. Ga. 1997) (holding FAAAA preempts an
unjust enrichment claim because “Plaintiff’s claims relate to prices charged by

Defendant for various services and thus . . . impose state laws, standards, and policies

external to any agreement between Plaintiff and Defendant on Defendant’s conduct

relating to its pricing practices.”).
       The FAAAA preempts all four of Plaintiffs’ claims against HDL, and dismissal

of all of those claims and HDL from the lawsuit is therefore required.



       C. The existence of the Independent Contractor Agreement precludes
          Plaintiffs from pursuing their unjust enrichment claim
       Alternatively, Plaintiffs’ unjust enrichment claim should be dismissed on the

basis that recovery on an unjust enrichment theory is unavailable when, as here, the

parties’ relationship is founded on a contract and Plaintiffs have failed to allege that




                                          -6-
the contract is invalid. MacDraw, Inc. v. CIT Grp. Equip. Fin., Inc., 157 F.3d 956, 964

(2d Cir. 1998).

      In evaluating New York law, courts in the Second Circuit consistently hold

that an unjust enrichment claim cannot survive a motion to dismiss if a contract

between the parties covers the subject matter of the dispute. Id.; see also Mid-Hudson

Catskill Rural Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 175 (2d Cir.
2005) (“New York law does not permit recovery in quantum meruit, however, if the

parties have a valid, enforceable contract that governs the same subject matter as the

quantum meruit claim.”). Plaintiffs contend HDL’s alleged improper classification of

independent contractors along with the failure to reimburse independent contractors

for work-related expenditures unjustly enriched HDL. Am. Compl. ¶¶ 53–57. These

allegations expressly relate to and are at odds with the terms and conditions of the

parties’   contractual   relationship.   Independent    Contractor   Agreement     ¶   6

(Expenses)(“Contractor shall provide its own vehicle and shall pay all costs attendant

with its operation and maintenance.”); ¶ 10 (Independent Contractor Relationship)

(“The parties have created an independent contractor relationship and neither party

. . . will be considered the partners, servants, agents, employees, or joint venturers of

or with the other.”); id. at p. 7 (Exhibit A – Contractor Compensation Schedule).
      Moreover, Plaintiffs’ allegations affirm the existence of an enforceable contract

applicable to the services that they performed for HDL, rendering their claims for

unjust enrichment unsustainable. See Compl. ¶ 16 (“HDL required delivery drivers

with which it contracts to have or lease a truck”), ¶ 18 (“HDL also requires delivery

drivers with which it contracts to obtain insurance”), ¶ 19 (“HDL retained the right

to terminate the contract with its delivery drivers without cause.”). Since Plaintiffs

have alleged that their contract governed the terms and conditions of their

relationship with HDL, as a matter of law, they cannot state a claim for unjust




                                           -7-
enrichment. Therefore, Count IV of the Amended Complaint must be dismissed with

prejudice for failure to state a claim.



III.   CONCLUSION

       Attempts to alter the manner in which a motor carrier provides its services “is

inconsistent with the [FAAAA’s] deregulatory purpose, since it imposes one system

for those that the market might develop.” S.C. Johnson & Son, Inc. v. Transp. Corp.

of Am., Inc., 697 F.3d 544, 552 (7th Cir. 2012). “The decision whether to provide a
service directly, with one’s own employee, or to procure the services of an independent

contractor is a significant decision in designing and running a business.” Schwann,

813 F.3d. at 438. The FAAAA precludes states from interfering with that decision;

“[s]uch an application of state law poses a serious potential impediment to the

achievement of the FAAAA’s objectives because a court, rather than the market

participant, would ultimately determine what services that company provides and

how it chooses to provide them.” Id. New York’s Transportation Industry Act does

just that, as does Plaintiffs’ request to substitute state law for each Independent

Contractor Agreement’s terms. Dismissal of all four claims asserted against HDL is

required.
       The unjust enrichment claim alternatively must be dismissed because a

contract between the parties covering the subject matter of this dispute exists, which

precludes recovery on an unjust enrichment theory.

                                  Respectfully submitted,

                                  /s/ Rodney O. Personius
                                  Rodney O. Personius, Esq.
                                  Personius Melber LLP
                                  2100 Main Place Tower
                                  Buffalo, NY 14202
                                  (716) 855-1050 x101
                                  rop@personiusmelber.com


                                          -8-
                             Andrew J. Butcher, Esq.
                             (pro hac vice)
                             Scopelitis, Garvin, Light,
                             Hanson & Feary
                             30 W. Monroe Street, Suite 600
                             Chicago, IL 60603
                             312-255-7200
                             abutcher@scopelitis.com




TO:   Samuel Alba, Esq.
      FRIEDMAN & RANZENHOFER, P.C.
      74 Main Street
      P.O. Box 31
      Akron, NY 14001
      (716) 542-5444

      Ravi Sattiraju, Esq.
      Anthony S. Almeida, Esq.
      THE SATTIRAJU LAW FIRM, P.C.
      116 Village Boulevard, Suite 200
      Princeton, NJ 08540
      (609) 799-1266

      Harold L. Lichten, Esq.
      Shannon Liss-Riordan, Esq.
      Benjamin J. Weber, Esq.
      LICHTEN & LISS-RIORDAN, P.C.
      720 Boylston Street, Suite 2000
      Boston, MA 02116
      (617) 994-5800

      Brendan T. Killeen, Esq.
      Michael J. Puma, Esq.
      Morgan, Lewis & Bockius LLP
      101 Park Avenue
      37TH Floor
      New York, NY 10178-0060
      (212)-309-6001




                                    -9-
                            CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of July, 2017, I electronically filed the

foregoing with the Clerk of the District Court using the CM/ECF system, which sent

notification of such filing to the following:

       Samuel Alba, Esq.                          Shannon Liss-Riordan, Esq.
       FRIEDMAN & RANZENHOFER, P.C.               Benjamin J. Weber, Esq.
       74 Main Street                             LICHTEN & LISS-RIORDAN, P.C.
       P.O. Box 31                                720 Boylston Street, Suite 2000
       Akron, NY 14001                            Boston, MA 02116
       (716) 542-5444                             (617) 994-5800

       Ravi Sattiraju, Esq.                       Brendan T. Killeen, Esq.
       Anthony S. Almeida, Esq.                   Michael J. Puma, Esq.
       THE SATTIRAJU LAW FIRM, P.C.               Morgan, Lewis & Bockius LLP
       116 Village Boulevard, Suite 200           101 Park Avenue
       Princeton, NJ 08540                        37TH Floor
       (609) 799-1266                             New York, NY 10178-0060
                                                  (212)-309-6001
       Harold L. Lichten, Esq.


                                                     /s/ Rodney O. Personius
                                                     Rodney O. Personius, Esq.
                                                     PERSONIUS MELBER LLP
                                                     Local Counsel for Defendant
                                                      HOMEDELIVERYLINK, Inc.
                                                     2100 Main Place Tower
                                                     Buffalo, NY 14202
                                                     (716) 855-1050
                                                     rop@personiusmelber.com
